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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Charles Hines
                                  Plaintiff,
v.                                                     Case No.: 1:21−cv−03597
                                                       Honorable Jorge L. Alonso
Proctor.io Incorporated
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 14, 2021:


       MINUTE entry before the Honorable Sunil R. Harjani: Plaintiff's unopposed
motion to extend deadline for serving notices of depositions [31] is granted. Notices of
depositions with agreed upon dates shall be issued by 1/14/2022. Mailed notice(lxs, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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